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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

IN RE:                                 :              CHAPTER 11
                                       :
BISCAYNE BEACH APARTMENTS, LLC, :
                                       :              CASE NO. 23-15904-CLC
                                       :
            DEBTOR.                    :
________________________________________


 EMERGENCY MOTION OF UNITED STATES TRUSTEE TO DISMISS THIS CASE
             AND REQUEST FOR EXPEDITED HEARING

     REASON FOR EXPEDITED HEARING PURSUANT TO LOCAL RULE 9075-1

The Debtor has failed to comply with the United States Trustee Operating Guidelines by
failing to provide proof of adequate insurance to the United States Trustee. The failure to
provide adequate insurance may leave the estate at risk and is harmful to estate. Therefore,
the United States Trustee requests that a hearing on the motion be set at the Court’s earliest
convenience.

         The United States Trustee pursuant to 11 U.S.C. Section 1112 (b) for an order dismissing

this case and as grounds therefore states:

         1. The Debtor filed a voluntary chapter 11 case on July 27, 2023.

         2. The Debtor filed this case as a single asset real estate case (ECF No. 12).

         3. The Debtor owns an 8 unit apartment building located at 834-842 84 Street, Miami

Beach, Florida 33141 (the “Real Property”) (ECF No. 1).

         4. The Debtor estimates the value of the Real Property to be $1,600,000 (ECF No. 1).

         5. According to the Debtor’s schedules, the Real Property is subject to: (a) the first

mortgage claim of 842 84 St Lender, LLC, in the amount of $1,042,000, (b) a utility lien held by

the City of Miami Beach in the amount of $11,919.02, and (c) real estate taxes owed to Miami

Date County in the amount of $52,121.12 (ECF No. 1).
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       6. Pursuant to the Statement of Financial Affairs, prepetition, 842 84 St Lender, LLC

commenced a foreclosure action against the Debtor (ECF No. 1).

       7. The Debtor’s only scheduled unsecured creditor is its sole shareholder, Benjamin

Shames, for monies loaned to the Debtor (ECF No. 1).

       8. The meeting of creditors pursuant to section 341 of the Bankruptcy Code is scheduled

for September 6, 2023.

       9. On July 31, 2023, the United States Trustee's Office sent correspondence to the Debtor

regarding the requirements under the United States Trustee's Operating Guidelines and Reporting

Requirements for Debtors in Possession and Trustees (the "Guidelines").

       10. The correspondence provides that failure to comply with the Guidelines may result in

motions to dismiss or convert this case, for the appointment of a chapter 11 trustee or examiner,

or for the imposition of sanctions.

       11. The Debtor has failed to comply with the requirements of the Guidelines by failing to

provide proof of wind and flood insurance.

       12. On August 9, 20203, the United States Trustee contacted Debtor’s counsel regarding

the failure to provide proof of adequate insurance.

       13. To date, the Debtor has failed to provide proof of wind and flood insurance to the

United States Trustee.

       14. This is particularly concerning given that the 2023 hurricane season has begun.

       15. Furthermore, the Debtor has failed to file its Chapter 11 case management summary,

which was due on or before August 1, 2023 (ECF No. 4).

       16. Section 1112(b)(1) provides that after notice and a hearing, the Court shall dismiss a

case if the movant establishes cause.
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       17. Section 1112(b)(4) lists several items which constitute "cause" for purposes of

dismissal.

       18. The failure to maintain appropriate insurance that poses a risk to the estate or to the

public is cause for dismissal pursuant to 11 U.S.C. §1112(b)(4)(C).

       19. The United States Trustee submits any uninsured property damage will result in

financial harm to this estate.

       20. Pursuant to 11 U.S.C. §1112(b)(4)(H), the failure to timely provide information

requested by the United States Trustee also establishes cause to dismiss this case.

       21. Failure to timely provide information reasonably requested by the United States

Trustee is cause for dismissal pursuant to 11 U.S.C. §1112(b)(4)(H).

       22. The Debtor’s failure to maintain adequate insurance to protect the estate indicates

gross mismanagement of the estate and is cause for dismissal of this case pursuant to 11U.S.C.

§1112(b)(4)(B).

       23. Further, pursuant to 11 U.S.C. §1112(b)(4)(F), an unexcused failure to satisfy timely

any filing or reporting requirement established by Title 11 or by any rule applicable to a case

under Chapter 11, establishes cause to dismiss a Chapter 11 case.

       24. The Debtor’s failure to file its case management summary constitutes cause to

dismiss the Debtor’s case under 11 U.S.C. §§1112(b)(4)(F).

       25. The United States Trustee submits that it would be in the best interests of the

creditors to dismiss this case.
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       WHEREFORE, the United States Trustee respectfully requests the Court to set an

emergency hearing and enter an order dismissing this case and for such other and further relief

as may seem just and proper.

                                                     MARY IDA TOWNSON
                                                     UNITED STATES TRUSTEE
                                                     REGION 21

                                                     By:                /s/
                                                     Martin P. Ochs*
                                                     Georgia Bar No. 091608
                                                     United States Department of Justice
                                                     Office of the United States Trustee
                                                     362 Richard Russell Building
                                                     75 Ted Turner Drive SW
                                                     Atlanta, Georgia 30303
                                                     (404) 331-4509
                                                     martin.p.ochs@usdoj.gov

       * I hereby certify that I am admitted to the Bars of the States of Georgia and New York
and that I am excepted from additional qualifications to practice in this Court pursuant to Local
Rule 9011-4 pertaining to attorneys representing the United States government.
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the EMERGENCY MOTION OF U.S.
TRUSTEE TO DISMISS THIS CASE AND REQUEST FOR EXPEDITED HEARING
was electronically filed with the Court using the CM/ECF system, which sent notification to all
parties of interest participating in the CM/ECF system and via U.S. Mail to the following:

Michael Frank:        pleadings@bkclawmiami.com
Brian Dervishi:       bdervishi@wdpalaw.com
Peter Tappert:        ptappert@wdpalaw.com

Biscayne Beach Apartments LLC
POB 800911
Miami, FL 33280-0911
Attn: Benjamin Shames, Mgr.

City of Miami Beach
1700 Convention Center Dr
Miami Beach, FL 33139

Miami Dade County Tax Collector
c/o Paralegal Collection Specialist
Attn: Priscilla A. Windley
200 NW 2nd Avenue, # 430
Miami, FL 33128

DONE this the 14th day of August, 2023.



                                            By:                 /s/                  .
                                                    Martin P. Ochs*
                                                    Georgia Bar No. 091608
                                                    United States Department of Justice
                                                    Office of the United States Trustee
                                                    362 Richard Russell Building
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4 pertaining to attorneys representing the United States government.
